                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                     AUGUSTA DIVISION




UNITED STATES OF AMERICA

V.                                                   CR121-048


SAMMIE SIAS




                                            ORDER


       Presently pending before the Court is the Defendant's Motion to Continue Jury Selection

and Trial [Doc. 35] filed on February 28, 2022.

        After careful consideration, the Court finds that this request has not been made for the

purposes of undue delay but in the interest ofjustice. The Court further finds that the ends of

justice served by granting such a continuance outweigh the best interest of the public and the

defendants in a speedy trial.

        Accordingly, after consideration of the factors set forth in 18 U.S.C. § 316i(h)(7)(A), and

finding just cause to support the same, the Court GRANTS the continuance, and excludes from

the time calculation under the Speedy Trial Act the time between the making of the motion and

the new trial date.


       THEREFORE, IT IS ORDERED that the Motion to Continue is GRANTED [Doc. 35].

The pretrial conference is hereby rescheduled for Thursday. July 14. 2022 at 10:00 am and Jury

selection and trial are hereby continu^ until Monday. July 18. 2022 at 9:00 am.

       SO ORDERED.thisC>?'^^44 of /Pf/OJrl .2022.


                                             J. RAKDmfiALL. CiMf JUDGE /
                                             UNITED STATES DISTRICT COURT
                                                           DISTRICT OF GEORGIA
